     Case 2:20-mc-00279-UA Document 1 Filed 11/04/20 Page 1 of 2 Page ID #:1



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 7
 8                          UNITED STATES DISTRICT COURT
 9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
       In Re 17 U.S.C. § 512(h) Subpoena to       Case Number: 2:20-mc-00279
11
12     TONIC DOMAINS CORPORATION                 REQUEST TO THE CLERK FOR
                                                 ISSUANCE OF SUBPOENA
13                                               PURSUANT TO 17 U.S.C. § 512(h)
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                                  REQUEST FOR § 512(H) SUBPOENA
     Case 2:20-mc-00279-UA Document 1 Filed 11/04/20 Page 2 of 2 Page ID #:2



 1     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE THAT the Motion Picture Association, Inc.
 3     through undersigned counsel and its authorized representatives, hereby requests that
 4     the Clerk of this Court, pursuant to the Digital Millennium Copyright Act
 5     (“DMCA”), 17 U.S.C. § 512(h), issue the attached proposed subpoena to Tonic
 6     Domains Corporation to identify alleged infringers, as set forth in the attached
 7     notice and declaration of Jan van Voorn.
 8
 9     DATED: November 4, 2020                    MUNGER, TOLLES & OLSON LLP
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11                                                By:          /s/ Mari T. Saigal
                                                                MARI T. SAIGAL
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                                                  Attorney for Plaintiffs
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                                    REQUEST FOR 512(H) SUBPOENA
